






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00092-CR






Randall Joseph Boudreaux, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 8 OF TRAVIS COUNTY

NO. C-1-CR-09-209499, HONORABLE CARLOS HUMBERTO BARRERA, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant filed his notice of appeal on January 11, 2012, and the clerk's record was
filed on February 13.  On March 14, we sent appellant's counsel notice that the reporter's record was
overdue and that the court reporter had informed us that appellant had neither paid for nor made
arrangements to pay for the record.  To date, the record has not been filed.  On May 24, we sent
appellant's counsel notice that the brief was overdue, requesting a response no later than June 4.
Counsel has not responded, and the brief has not been filed.

	The appeal is therefore abated.  The trial court shall conduct a hearing to determine
whether appellant still wishes to pursue his appeal, whether he is indigent, and whether counsel has
abandoned the appeal.  See Tex. R. App. P. 38.8(b).  The court shall make appropriate findings and
recommendations, and a supplemental record from this hearing, including copies of all findings and
orders and a transcription of the court reporter's notes, shall be forwarded to the clerk of this Court
no later than December 21, 2012.  See id.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Henson

Abated

Filed:   November 16, 2012

Do Not Publish


